                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01129

ERIC COOMER, PhD.,

      Plaintiff

v.

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,

      Defendants


                                 EXHIBIT 15
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                                                                                     "How do you sleep at night?....You obviously don't have a
                                                                                                                MyPillow..."

                                                                               - Mike Lindell to 'ambulance chaser' Attorney Charlie Cain during
                                                                                a deposition in the frivolous lawsuit filed by Dominion executive
                                                                                                                Eric Coomer.

                                                                              Austin Texas Attorney Charlie Cain obviously doesn't have a
                                                                              MyPillow 2.0, so let's all send him one!             Purchase your MyPillow
                                                                              2.0 and we will ship a MyPillow direct to Charlie Cain's office!

                                                                              The Charlie Cain Edition has the "MOST LOFT" fill level to help
                                                                              get his head out of the gutter!

                                                                              If you use promo code: SCUMBAG at checkout, we'll also ship a
                                                                              pocket U.S. Constitution and cover the shipping!

                                                                              **** 100% of the proceeds go to Mike Lindell's
                                                                              LindellOffenseFund.org

                                                                              **** Quantity 1 MyPillow 2.0 will be shipped direct to Charlie Cain
                                                                              at the following office address:

                                                                              303 Colorado Street Suite 2850. Austin, Texas 78701. To ensure
                                                                              your MyPillow has been received, contact Charlie's office at P:512
                                                                              477 5000




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